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                 EXHIBIT 1
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                      IN THE CIRCUIT COURT OF THE FIFTEENTH
            JUDICIAL CIRCUIT IN AND FOR PALM BEACH COUNTY, FLORIDA

                                                      PROBATE DIVISION: IA
                                                      CASE NO.: 50-2013-CP-005060-XXXX-NB

DAVID ALAN KLEIMAN,
   Decedent.


_______________________________/

                              ORDER ON PENDING MOTIONS
       THIS CAUSE came before the Court on the motions listed below. The Court has

considered the submissions and is otherwise advised of the premises.

       1.      Motion to lift stay (D.E. # 74):

       Lynn Wright has moved the Court to lift the stay set in the Court’s December 14, 2020

Order (D.E. #74), citing the jury verdict in the federal case, Ira Kleiman et al. v. Craig Wright,

No. 9:18-cv-80176-BB (S.D. Fla.). That case, however, has not been fully and finally resolved,

as it is currently on appeal, Ira Kleiman v. Craig Wright, No. 22-11150 (11th Cir.). The motion is

therefore denied, and the stay shall remain in effect.

       2.      Motion for Order to proceed with execution (D.E. # 81):

       Ramona Watts, a/k/a Ramona Ang, has filed a motion to proceed with execution against

the estate on a judgment awarded to her by a United Kingdom court, which has been recorded in

Palm Beach County, Florida. The Clerk of the Circuit Court and Recorder has issued its certificate

of no objection to the foreign judgment pursuant to section 55.604(4), Florida Statutes. Because

no objection was filed , it is now a Florida judgment that is not subject to collateral attack before

this Court; it may only be attacked in the issuing Court in the United Kingdom. Tettamanti v.

Opcion Sociedad Anonima, 67 So. 3d 356 (Fla. 3d DCA 2011).



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       This claim arose after the death of the decedent, David Kleiman, and so it is not subject to

the limitations periods contained in section 733.702, Florida Statutes. Ms. Watts/Ang may file a

claim in these proceedings in accordance with section 733.703, and she may do so while the stay

of these proceedings is in effect, but only for that purpose. Consideration of the claim is otherwise

stayed. Ms. Watts/Ang’s motion to proceed with execution under section 733.706 is DENIED.

Because of the current stay of these proceedings, and because of the potential for claims of setoff

by the estate against Ms. Watts/Ang or a challenge to the judgment before the foreign court,

permitting execution on the judgment would be premature and imprudent.

       3.      Motions to disqualify Kyle Roche and Roche Freedman LLP (D.E. # 87, 94):

       Ms. Watts/Ang and Ms. Wright have moved the Court to disqualify Kyle Roche and the

law firm of Roche Freedman LLP (now known as Freedman Normand Friedland LLP) (“the

Firm”) from representing Ira Kleiman as personal representative of the estate of David Kleiman.

       “Disqualification of a party's chosen counsel is an extraordinary remedy and should
       only be resorted to sparingly.” Singer Island, Ltd. v. Budget Constr. Co., 714 So.
       2d 651, 652 (Fla. 4th DCA 1998); Vick v. Bailey, 777 So. 2d 1005, 1007 (Fla. 2d
       DCA 2000). Motions for disqualification are generally viewed with skepticism
       because disqualification of counsel impinges on a party's right to employ a lawyer
       of choice, and such motions are often interposed for tactical purposes. See Evans v.
       Artek Sys. Corp., 715 F.2d 788, 791-92 (2d Cir. 1983); Manning v. Waring, Cox,
       James, Sklar & Allen, 849 F.2d 222, 224 (6th Cir. 1988) (observing that “the ability
       to deny one's opponent the services of capable counsel, is a potent weapon”).
       Confronted with a motion to disqualify, a court must be sensitive to the competing
       interests of requiring an attorney's professional conduct and preserving client
       confidences and, on the other hand, permitting a party to hire the counsel of choice.

Manning v. Cooper, 981 So. 2d 668, 670 (Fla. 4th DCA 2008) (quoting Alexander v. Tandem

Staffing Solutions, Inc., 881 So. 2d 607, 608-09 (Fla. 4th DCA 2004). “The trial court's discretion

is governed by the controlling legal principles, but the appellate court will not substitute its

judgment for the trial court's express or implied findings of fact which are supported by competent

substantial evidence. . . .” Id. at 670-71 (citation omitted).

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       The Court notes that Ms. Watts/Ang and Ms. Wright’s motions contain essentially the same

allegations and accusations – often verbatim – as those made in attempting such disqualification

in the federal appeal, which the 11th Circuit ultimately denied. Ira Kleiman v. Craig Wright, No.

22-11150 (11th Cir.), Federal Appeal D.E. # 40 (motion), # 57 (December 29, 2022 order denying

motion). The Court has carefully reviewed the docket entries in this action. Velvel (Devin)

Freedman filed at entry of appearance when he was affiliated with Boies Schiller Flexner LLP’s

Miami office. (D.E. # 46.) He then submitted filings while affiliated with Roche Cyrulnik

Freedman LLP, a Miami firm. (D.E. # 53, 60.) A later filing (D.E. # 66) shows that Andrew S.

Brenner of Boies Schiller Flexner LLP’s Miami office is co-counsel for the estate. Stephen Lagos

of Roche Cyrulnik Freedman LLP’s New York office filed a motion for admission pro hac vice

(D.E. # 70), which was granted (D.E. # 72).

       The Court has found no evidence of Kyle Roche’s participation as counsel in these

proceedings, and so there is no basis for disqualifying him. Additionally, the Court also has

reviewed the motions and concludes that they fail to demonstrate any “competent substantial

evidence” providing a basis for disqualification of Freedman Normand Friedland LLP, thereby

depriving Ira Kleiman and the estate of their right to choice of counsel. Manning, 981 So. 2d at

670-71. The content of the motions, at best, make allegations of purported misconduct by Mr.

Roche (who is not counsel of record in this case) relating to cases entirely unrelated to this one,

and without any showing of how that misconduct constitutes a conflict of interest that implicates

the interests of Ms. Watts/Ang and Ms. Wright.          The motions indeed invite the Court’s

“skepticism.” Id. at 670.

       Accordingly, the motions to disqualify Kyle Roche and the law firm of Roche Freedman

LLP (now known as Freedman Normand Friedland LLP) are DENIED.



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      DONE and ORDERED in Palm Beach County, Florida.




          Name                   Address                           Email

                                                   EFILLING@KARPLAW.COM,
                        2875 PGA BLVD STE. 100
                                                   efiling@karplaw.com,
ADELE SMALL HARRIS      PALM BEACH GARDENS, FL
                                                   aharris@karplaw.com,
                        33410
                                                   gbrown@karplaw.com

                        501 SOUTH FLAGLER DRIVE    aburger@mcdonaldhopkins.com,
ALAN M. BURGER          SUITE 200 WEST PALM        ltimoteo@mcdonaldhopkins.com,
                        BEACH, FL 33401            wpbpleadings@mcdonaldhopkins.com

AMANDA LARA FERNANDEZ   n/a                        afernandez@riveromestre.com

                                                   arivero@riveromestre.com,
ANDRES RIVERO           n/a                        sgonzalez@riveromestre.com,
                                                   receptionist@riveromestre.com

ANDREW D. HODES         n/a                        adh@lubellrosen.com

                                                   abrenner@bsfllp.com,
ANDREW S BRENNER        n/a
                                                   PMUSA@bsfllp.com

                                                   baz@bruceazimetlaw.com,
BRUCE A. ZIMET          n/a
                                                   jcc2878@yahoo.com

                        501 SOUTH FLAGLER DRIVE
                                                   CFURMAN@MCDONALDHOPKINS.COM,
CHELSEA L. FURMAN       SUITE 200 WEST PALM
                                                   jlesson@mcdonaldhopkins.com
                        BEACH, FL 33401




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           Name                   Address                             Email

                                                   VEL@ROCHEFREEDMAN.COM,
                        200 SOUTH BISCAYNE BLVD
DEVIN VEVEL FREEDMAN                               vel@fnf.law, nbermond@fnf.law,
                        SUITE 5500 MIAMI, FL 33131
                                                   ecf_notifications@rochefreedman.com

                        1001 BRICKELL BAY DRIVE
EVELYN I. SUERO                                    ESUERO@SUEROLAWPLLC.COM
                        SUITE 2700 MIAMI, FL 33131

JOSEPH S. KARP          n/a                           klf@karplaw.com

                        2875 PGA BLVD #100 PALM       E-FILING@KARPLAW.COM,
JOSEPH STUART KARP
                        BEACH GDNS, FL 33410          klf@karplaw.com

                                                   KML@LUBELLROSEN.COM,
                        200 S ANDREWS AVE STE. 900
KRISTEN M. LYNCH                                   anny@lubellrosen.com,
                        FT LAUDERDALE, FL 33301
                                                   klynch@fowler-white.com

                        2525 PONCE DE LEON BLVD
RAMONA WATTS            STE. 1000 CORAL GABLES, FL    sgonzalez@riveromestre.com
                        33134

                        99 PARK AVE SUITE 1010 NEW
STEPHEN LAGOS
                        YORK, NY 10016




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